117 F.3d 1422
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that they are not precedent and generally should not be cited unless relevant to establishing the doctrines of res judicata, collateral estoppel, the law of the case, or if the opinion has persuasive value on a material issue and no published opinion would serve as well.Steven Scott DAFFER;  Shelly Lynn Daffer, Appellants,v.John R. BATTERSHELL, District Judge, Red Willow County,Nebraska;  Eric B. Eisenhart;  Steve Hollers;Thomas L. Johnson;  Gene Mahon;  JerryRunyan;  Unknown Does, 1 to99, Appellees.
    No. 97-1567.
    United States Court of Appeals, Eighth Circuit.
    Submitted:  July 2, 1997Filed:  July 21, 1997
    
      Appeal from the United States District Court for the District of Nebraska.
      Before McMILLIAN, FAGG and LOKEN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Steven Scott Daffer and Shelly Lynn Daffer appeal from a final order of the United States District Court1 for the District of Nebraska, dismissing their complaint with prejudice for failing to comply with Federal Rule of Civil Procedure 8, and denying their motion for summary judgment.  We have carefully reviewed the record and we affirm on the basis of the district court's opinion.  See 8th Cir.  R. 47B.
    
    
      
        1
         The Honorable Richard G. Kopf, United States District Judge for the District of Nebraska, adopting the report and recommendation of the Honorable David L. Piester, United States Magistrate Judge for the District of Nebraska
      
    
    